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                          UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF MISSOURI


 In re:                                           )   Case No. 21-40834-DRD
                                                  )   Chapter 11
 INTERSTATE UNDERGROUND                           )
 WAREHOUSE AND INDUSTRIAL PARK,                   )
 INC.                                             )
                                                  )
                Debtor.                           )




      DEBTOR’S MOTION FOR ENTRY OF INTERIM AND FINAL ORDERS (A)
      AUTHORIZING CONTINUED USE OF THE DEBTOR’S EXISTING CASH
      MANAGEMENT SYSTEM; (B) AUTHORIZING USE OF EXISTING BANK
    ACCOUNTS AND BUSINESS FORMS; AND (C) GRANTING RELATED RELIEF

                Interstate Underground Warehouse and Industrial Park Inc. (“IUW” or the

 “Debtor”) respectfully states as follows in support of this motion (this “Motion”):

                                         Relief Requested

          1.    By this Motion, the Debtor seeks entry of interim and final orders (the “Proposed

 Orders”), pursuant to sections 105(a), 345(b), and 363(c) of title 11 of the United States Code

 (the “Bankruptcy Code”) and rules 6003 and 6004 of the Federal Rules of Bankruptcy Procedure

 (the “Bankruptcy Rules”), (a) authorizing and approving the Debtor to continue using its existing

 cash management system (the “Cash Management System”); (b) authorizing the Debtor to

 continue using its existing Bank Account, as defined below, at the financial institution identified

 thereon (the “Bank”) and existing checks; and (c) granting related relief.
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                                      Jurisdiction and Venue

        2.      This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157

 and 1334. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. This matter is a core

 proceeding pursuant to 28 U.S.C. § 157(b).

                                            Background

        3.      On July 1, 2021 (the “Petition Date”), the Debtor filed a voluntary petition for

 relief under chapter 11 of the Bankruptcy Code. The Debtor operates a network of underground

 storage facilities within a single location in Kansas City, Missouri. IUW houses approximately 3

 million square feet of dry storage, 250,000 square feet of cooler space, and 500,000 square feet

 of freezer space for the storage of a variety of customer goods.

        4.      The Debtor is operating its business and managing its properties as a debtor in

 possession pursuant to Bankruptcy Code sections 1107(a) and 1108. No trustee, examiner, or

 official committee has been appointed in the Chapter 11 Case.

        5.      A comprehensive description of the Debtor’s operations and events leading to the

 commencement of this chapter 11 case is set forth in the First Day Declaration.

        The Debtor’s Cash Management System

        6.      In connection with its warehousing operations, the Debtor maintains one bank

 account with the Central Bank of the Midwest, which serves as the primary account containing

 the cash to fund its business operations (the “Bank Account”). To minimize the disruption

 caused by this chapter 11 case and maximize the value of the Debtor’s estate, the Debtor requests

 authority to continue to utilize its existing Bank Account during the pendency of this chapter 11

 case. In connection with this relief, the Debtor also respectfully requests a waiver of certain of

 the United States Trustee’s Chapter 11 Guidelines for Debtors-In-Possession (the “U.S. Trustee



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 Guidelines”) established by the Office of the United States Trustee for Region 13 (the “U.S.

 Trustee”) that require the Debtor to close all prepetition bank accounts, open new accounts

 designated as debtor-in-possession accounts, and obtain new checks bearing a “debtor-in

 possession” legend.

        7.      Furthermore, the Debtor utilizes numerous preprinted correspondence and

 business forms, including letterhead, purchase orders, invoices, and preprinted checks

 (collectively, the “Business Forms”) in the ordinary course of its business.        To minimize

 expenses to its estate and avoid confusion on the part of employees, customers, vendors, and

 suppliers during the pendency of this chapter 11 case, the Debtor requests that the Court

 authorize its continued use of all existing Business Forms as such forms were in existence

 immediately before the Petition Date—without reference to the Debtor’s status as a chapter 11

 debtor in possession—rather than requiring the Debtor to incur the expense and delay of ordering

 new Business Forms and creating new books and records; provided that once the existing

 Business Forms have been used, the Debtor shall, during the pendency of this chapter 11 case,

 reorder new Business Forms that include a stamp to reference the Debtor’s status as debtor in

 possession and the corresponding bankruptcy case number.

                                   Basis for Relief Requested

 A.     The Court Should Authorize the Debtor’s Continued Use of the Cash Management
        System.

        8.      Section 363(c)(1) of the Bankruptcy Code authorizes a debtor-in-possession to

 “use property of the estate in the ordinary course of business without notice or a hearing.” 11

 U.S.C. § 363(c)(1). This section provides a debtor in possession with the flexibility to engage in

 the ordinary transactions required to operate its business without undue oversight by creditors or

 the court. See Habinger, Inc. v. Metro. Cosmetic & Reconstructive Surgical Clinic, P.A., 124


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 B.R. 784, 786 (Bankr. D. Minn. 1990) (citing United States ex rel. Harrison v. Estate of

 Deutscher, 115 B.R. 592 (Bankr. M.D. Tenn. 1990)). Included within the purview of section

 363(c) is a debtor’s ability to continue the “routine transactions” necessitated by a debtor’s cash

 management system. In re Amdura Corp., 75 F.3d 1447, 1453 (10th Cir. 1996). Accordingly,

 the Debtor seeks authority under section 363(c)(1) of the Bankruptcy Code to continue the

 collection, concentration, and disbursement of funds pursuant to the Cash Management System

 described above.

        9.      The Court may also exercise its equitable powers to grant the relief requested

 herein. Under section 105(a) of the Bankruptcy Code, the Court has expansive equitable powers

 to fashion any order or decree that is in the interest of preserving or protecting the value of the

 Debtor’s assets. See, e.g., In re Carlson, 126 F.3d 915, 920 (7th Cir. 1997) (“Section 105(a)

 gives the bankruptcy court the authority to issue any order necessary to carry out the provisions

 of the Bankruptcy Code.”); In re Chinichian, 784 F.2d 1440, 1443 (9th Cir. 1986) (“Section 105

 sets out the power of the bankruptcy court to fashion orders as necessary pursuant to the

 purposes of the Bankruptcy Code.”).

        10.     To ensure the seamless operation of the Debtor’s business and to realize the

 benefits of the Cash Management System, the Debtor should be allowed to continue using the

 Cash Management System and should not be required to open new bank accounts. The Debtor

 will maintain records of all transfers within the Cash Management System to the same extent

 they were recorded by the Debtor before the Petition Date. As a result, the Debtor will be able to

 document and record the transactions occurring within the Cash Management System for the

 benefit of all parties in interest. Accordingly, the requested relief is warranted.




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 B.     Maintaining the Existing Bank Account and Checks and Providing Protections to
        the Existing Bank Is Warranted and Appropriate under the Circumstances.

        11.     The U.S. Trustee Guidelines require that chapter 11 debtors, among other things:

 (a) close all existing bank accounts upon filing their petitions and open new “debtor-in-

 possession” accounts in certain financial institutions designated as authorized depositories by the

 U.S. Trustee; (b) establish one debtor-in-possession account for all estate monies required for the

 payment of taxes; and (c) maintain a separate debtor-in-possession account for cash collateral.

 By this Motion, the Debtor seeks a waiver of the U.S. Trustee Guidelines’ requirement that their

 Bank Accounts be closed and that new post-petition bank accounts be opened.

        12.     The Debtor can achieve the goals of the U.S. Trustee Guidelines without closing

 its existing Bank Account and opening new ones.           The Debtor can and will identify all

 prepetition checks and other forms of payment outstanding on the Petition Date and notify the

 appropriate bank not to pay such checks or obligations without proper authorization. The systems

 currently employed by the Debtor and the Bank is sufficient to ensure that prepetition obligations

 are not paid improperly.

        13.     The Debtor also seeks an order granting the Bank authority to continue to treat,

 service, and administer the Bank Account as accounts of the Debtor as a debtor-in-possession

 without interruption and in the usual and ordinary course, and to receive, process, honor, and pay

 any and all post-petition checks, drafts, wires, or electronic funds transfers drawn on the Bank

 Account by the holders or makers thereof. Notwithstanding anything to the contrary in any other

 order of this Court, the Debtor requests that the Bank be authorized to accept and honor all

 representations from the Debtor as to which checks, drafts, wires, or electronic funds transfers

 should be honored or dishonored consistent with any order of this Court and governing law,




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 whether such checks, drafts, wires, or electronic funds transfers are dated before, on, or

 subsequent to the Petition Date.

        14.     Finally, to minimize expenses, the Debtor further requests that it be authorized to

 continue using its existing Business Forms; provided, that once the Debtor’s existing check stock

 has been exhausted, the Debtor shall include, or direct others to include, the designation “Debtor-

 in-Possession” and the corresponding bankruptcy case number on all checks as soon as it is

 reasonably practicable to do so. Accordingly, the Debtor requests that the Court grant the relief

 requested herein.

 C.     Waiver of the Deposit Requirements of Section 345 of the Bankruptcy Code and
        Requirements of the U.S. Trustee Guidelines

        15.     The Debtor requests that the Court waive the requirements of section 345(b) of

 the Bankruptcy Code and the U.S. Trustee Guidelines and permit it to maintain any deposits in

 its Bank Account in accordance with its existing practices. Section 345(a) of the Bankruptcy

 Code authorizes deposits or investments of money of a bankruptcy estate, such as cash, in a

 manner that will “yield the maximum reasonable net return on such money, taking into account

 the safety of such deposit or investment.” 11 U.S.C. § 345(a). For deposits or investments that

 are not “insured or guaranteed by the United States or by a department, agency, or

 instrumentality of the United States or backed by the full faith and credit of the United States,”

 section 345(b) of the Bankruptcy Code provides that the estate must require from the entity with

 which the money is deposited or invested a bond in favor of the United States secured by the

 undertaking of an adequate corporate surety. 11 U.S.C. § 345(b). A court may, however, relieve

 a debtor-in-possession of the restrictions imposed by section 345(b) of the Bankruptcy Code for

 “cause.” 11 U.S.C. § 345(b).




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        16.     Upon information and belief, the Bank Account is insured by the FDIC and

 therefore in compliance with section 345(b) of the Bankruptcy Code. To the extent the Bank

 Account contains amounts in excess of the FDIC insurance limit, the Debtor submits that cause

 exists to waive any such noncompliance because such funds are deposited safely and prudently at

 Central Bank of the Midwest, which is a financially-stable and well-capitalized banking

 institution. Accordingly, to the extent the amount in the Bank Account exceeds the FDIC

 insurance limit during these chapter 11 cases, the Debtor requests that the Court waive strict

 compliance with section 345(b) of the Bankruptcy Code and the U.S. Trustee Guidelines

 requiring debtors to use Authorized Depositories.

        17.     Given the structure and relative security of the Cash Management System, the

 Debtor submits that cause exists to grant a waiver of the requirements of section 345(b) of the

 Bankruptcy Code and the U.S. Trustee Guidelines.

                        Waiver of Bankruptcy Rule 6004(a) and 6004(h)

        18.     By this Motion, the Debtor requests that the Court enter an order providing that

 notice of the relief requested herein satisfies Bankruptcy Rule 6004(a) and that the Debtor has

 established cause for a waiver of any stay of the effectiveness of the order approving this Motion

 under Bankruptcy Rule 6004(h).        For the reasons set forth herein and in the First Day

 Declaration, the Debtor submits that notice of the relief requested herein is appropriate under the

 circumstances and that ample cause exists to justify a waiver of the fourteen (14) day stay

 imposed by Bankruptcy Rule 6004(h).

                   The Requirements of Bankruptcy Rule 6003 Are Satisfied

        19.     The Debtor seeks immediate authorization for the relief requested in this Motion.

 Pursuant to Bankruptcy Rule 6003(b), a bankruptcy court cannot grant “a motion to use, sell,



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 lease, or otherwise incur an obligation regarding property of the estate, including a motion to pay

 all or part of a claim that arose before the filing of the petition” within the first twenty-one (21)

 days after the petition date unless the relief is “necessary to avoid immediate and irreparable

 harm.” Fed. R. Bankr. P. 6003(b). For the reasons set forth herein, Rule 6003(b) has been

 satisfied.




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                WHEREFORE, the Debtor respectfully requests entry of the Proposed Orders

 granting the relief requested herein and such other relief as is just and proper.

  Dated:   July 2, 2021               Respectfully submitted,
           Kansas City, Missouri
                                      ARMSTRONG TEASDALE LLP

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                                      - and -

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                                    Exhibit A

                              Proposed Interim Order
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                              UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF MISSOURI
                                      WESTERN DIVISION

 In re:                                                  )    Case No. 21-40834-DRD
                                                         )    Chapter 11
 INTERSTATE UNDERGROUND                                  )
 WAREHOUSE AND INDUSTRIAL PARK,                          )
 INC.                                                    )
                                                         )
 Debtor.                                                 )
                                                         )

          INTERIM ORDER (A) AUTHORIZING CONTINUED USE OF THE
      DEBTOR’S EXISTING CASH MANAGEMENT SYSTEM; (B) AUTHORIZING
        USE OF EXISTING BANK ACCOUNTS AND BUSINESS FORMS; AND
                      (C) GRANTING RELATED RELIEF

                  Upon the Motion1 of Interstate Underground Warehouse and Industrial Park, Inc.

 (“IUW” or the “Debtor”) requesting entry of an interim order (this “Interim Order”), pursuant to

 sections 105(a), 363(c), and 345(b) of title 11 of the United States Code (the “Bankruptcy

 Code”) and rules 6003 and 6004 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

 Rules”), (a) authorizing and approving the Debtor to continue using its Cash Management

 System; (b) authorizing the Debtor to continue using its Bank Account at the Bank and existing

 checks; and (c) granting related relief, all as more fully described in the Motion; and it appearing

 that this Court has jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157 and 1334;

 and it appearing that venue of the Debtor’s chapter 11 case and the Motion in this district is

 proper pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing that this matter is a core

 proceeding pursuant to 28 U.S.C. § 157(b); and it appearing that proper and adequate notice of

 the Motion has been given and that no other or further notice is necessary; and a hearing having

 been held to consider the relief requested in the Motion; and upon consideration of the First Day



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     All capitalized terms used and not defined herein shall have the meanings ascribed to them in the Motion.
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 Declaration; and upon the record of the hearing and all of the proceedings had before the Court;

 and the Court having found and determined that the relief sought in the Motion is in the best

 interests of the Debtor, its estate, its creditors, and all other parties in interest; and that the legal

 and factual bases set forth in the Motion establish just cause for the relief granted herein; and

 after due deliberation and sufficient cause appearing therefor,

                 IT IS HEREBY ORDERED THAT:

                 1.      The Motion is granted on an interim basis to the extent set forth herein.

                 2.      The Debtor is authorized, pursuant to sections 105(a), 345(b), and 363(c),

 to continue using the Cash Management System in a manner consistent with the Debtor’s

 prepetition practices, as described in the Motion. The Debtor may transfer funds into, out of, and

 through the Cash Management System, using ordinary transfer methods in accordance with the

 Debtor’s prepetition practices. Without limiting the generality of the foregoing, the Debtor is

 authorized to (a) designate, maintain, and continue to use, with the same account number, its

 Bank Account in existence on the Petition Date, (b) treat the Bank Account for all purposes as an

 account of the Debtor in its capacity as debtor in possession, and (c) use, in their present form,

 all Business Forms, without reference to its status as debtor in possession.

                 3.      The Bank is authorized to continue to service and administer its Bank

 Account as a depository account of the Debtor as debtor in possession, without interruption and

 in the usual and ordinary course of business, and to receive, process, honor, and pay, in

 accordance with this Interim Order, any or all checks, drafts, wires, or electronic funds transfers

 drawn on such Bank Account.

                 4.      Each Bank is authorized to accept and rely upon, without further inquiry,

 all representations from the Debtor as to which checks, drafts, wires, or electronic funds transfers



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 are dated before, on, or after the Petition Date and which checks are to be honored or dishonored,

 regardless of whether or not such payment or honoring is or is not authorized by an order of the

 Court. As necessary, the Debtor shall promptly provide a list of checks to the Bank for the Bank

 Account maintained at the Bank, specifying by check sequencing number, dollar amount, and

 payee information those checks that are to be dishonored by such Bank, which checks may

 include those issued after the Petition Date as well as those issued before the Petition Date that

 are not to be honored or paid according to any order of the Court, and each Bank may honor all

 other checks.

                 5.    Except for those checks, drafts, wires, or electronic funds transfers that are

 authorized or required to be honored under an order of the Court, the Debtor shall not instruct

 nor request any Bank to pay or honor any check, draft, or other payment item issued on the Bank

 Account before the Petition Date but presented to such Bank for payment after the Petition Date.

                 6.    Notwithstanding anything to the contrary herein, the Bank shall be

 obligated to honor any check or other payment item drawn on a Bank Account at such Bank

 unless there are sufficient and collected funds in such Bank Account.

                 7.    If Bank is not a party to a uniform depository agreement with the U.S.

 Trustee, the Debtor shall use its reasonable efforts to cause the Bank to execute a uniform

 depository agreement in a form prescribed by the U.S. Trustee within forty-five (45) days of the

 date of this Interim Order. If the Debtor is unsuccessful in causing the Bank to execute a

 uniform depository agreement, the Debtor shall make other arrangements with the U.S. Trustee

 that are reasonably satisfactory to the U.S. Trustee with respect to such Bank and the Debtor’s

 accounts at such Bank. The U.S. Trustee’s rights to seek further relief from this Court on notice




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 in the event that the Bank is unwilling to execute a uniform depository agreement in a form

 prescribed by the U.S. Trustee are fully reserved.

                8.     The Debtor is authorized to open any new bank accounts or close any

 existing Bank Account as it may deem necessary and appropriate in its sole discretion; provided

 that the Debtor gives notice of the closing of any Bank Accounts or the opening of any new bank

 accounts within fifteen (15) days thereafter to the U.S. Trustee and any statutory committees

 appointed in this chapter 11 case.

                9.     The Debtor is authorized to use its existing Business Forms; provided that

 once the Debtor’s existing check stock has been exhausted, the Debtor shall include, or direct

 others to include, the designation “Debtor-in-Possession” and the corresponding bankruptcy case

 number on all checks as soon as it is reasonably practicable to do so.

                10.    The Debtor is authorized to deposit and invest its cash and cash

 equivalents in the Bank Account consistent with its prepetition practices and the Cash

 Management System. The Debtor is relieved from the obligations under section 345(b) of the

 Bankruptcy Code and the requirements of the U.S. Trustee Guidelines to obtain a bond from any

 entity with which money is deposited or maintained in the Bank Accounts.

                11.    Notice of the Motion as provided therein is hereby deemed good and

 sufficient notice of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local

 Bankruptcy Rules are satisfied by such notice.

                12.    Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of

 this Interim Order shall be immediately effective and enforceable upon its entry.

                13.    The requirements set forth in Bankruptcy Rule 6003(b) are satisfied

 because the relief sought by the Motion is necessary to avoid immediate and irreparable harm.



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                 14.     The Debtor is authorized to take all actions necessary to effectuate the

 relief granted in this Interim Order in accordance with the Motion.

                 15.     This Court retains exclusive jurisdiction with respect to all matters arising

 from or related to the implementation, interpretation, and enforcement of this Interim Order.

                 16.     No later than two (2) business days after the date of this Interim Order, the

 Debtor shall serve (a) a copy of the Interim Order and (b) a notice scheduling a final hearing on

 the Motion, on ___________________, 20___, at ___:___ __.m. (prevailing Central Time), and

 shall file a certificate of service no later than twenty-four (24) hours after service.

 Dated: ____________, 2021
        Kansas City, Missouri

                                         ____________________________________
                                         UNITED STATES BANKRUPTCY JUDGE




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